Case 3:23-cv-00711-C-BN Docu OO eda23 Page 10f11 PagelID5

a
(: ad 04 Ne “4 Anthony Eugene Budreau

320 South Charles Street Suite 121

Lewisville Texas [75067]

DISTRICT COURT OF THE UNITED STATES fa ,
FOR THE DISTRICT OF TEXAS <

NORTHERN DIVISION r

CUSIP es NUMBER

Sat tO 7 1 i- -C

Gregg Abbott, OFFICE OF THE GOVERNOR OF STATE OF TEXAS

22:1 Wd 4- Ud¥ E20

Donald John Trump, President of the on Sta

ANTHONY EUGENE BUDREAU-VESSEL
by Anthony Eugene Budreau (I a living man)

Vv.

THE STATE OF TEXAS (an Enterprise/Corporation) DUNS XXXXX7595 for patterns and
practices of fraud, and deceptive trade practices, and child trafficking and genocide

Ken Paxton in ts private and professional capacity
Elizabeth Garza in her private and professional capacity
Jennifer Jy! Farnkoff in her private capacity

Gregg Mattison Gibbs in his private and professional capacity

PLAINTIFF’S FIRST COMPLAINT & TRIAL BY JURY AT COMMON LAW
DEMAND

I. INTRODUCTION AND STATEMENT OF CLAIMS

BEFORE ME, the undersigned authority on this day personally appeared, affiant, who

being by me duly sworn, deposes and says an oath as follows:

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That this sworn affidavit is made as a matter of record as my right in my own proper
person under the constitution of the United States of America and Texas constitution
this affidavit of truth must be enforced as a judgment by any law enforcement office

and the County Sheriff and all civil servants, if these facts go unrebutted.

. Now comes, Demandant: Anthony Eugene Budreau, bringing this written paper

in equity as First Complaint in Federal Court to enforce a common law court
judgment see US 7 Amendment, 1** Amendment rights of redress, and the Full
Faith and Credit Clause of the United States Constitution Art IV Section 1,
requires that a court give full faith and credit to the public acts, records, and

judicial proceedings of every other state.

. Tama living Texian, American National man created in the image of YHWH see

Genesis 1:26-28 I am a non-employee of the UNITED STATES Corporation,

non-14'" Amendment Citizen.

. I, Anthony Eugene Budreau have corrected my status per 8 USC 1101 a 21 and 23 once

I realized the 14" Amendment citizen (U.S. Citizen) is considered a: “dead civil entity”

see congressional Record June 13, 1967 pp15641-15646.

. Lam diverse (under alienage jurisdiction) from the Defendant and bring this cause

of action against THE STATE OF TEXAS, Elizabeth Garza and Ken Paxton,
Attorney General of the STATE OF TEXAS, Gregg Mattison Gibbs, other
Defendants since STATE OF TEXAS, its agents, contractors and subcontractors
are corporations and suable as “PERSONS.”

. All Defendants herein are U.S. Citizens and are sued herein to enforce the

common law republic of Texas court judgments.

. STATE OF TEXAS Article 1 courts have caused severe trespass of my YHWH-

given rights and the rights of other living men and women and denied all remedy

available, therefore we the People of the republic of Texas have created a remedy

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of a common law courts to hear the living men and women’s controversies, render
judgments and enforce our judgments.

7. The Defendants herein have breached their fiduciary duty to protect my YHWH-
given rights, I am entitled to immediate injunctive relief from the Article 1 Courts
monetizing causes of action to gain securities through fraud using the magistrates
ISLN number which results in extreme profits from denial of justice, and denial
of any remedy.

8. I am a non-resident alien) to the corporation as a living being with flesh, blood
and a soul, a creation of YHWH.

9. My rights come from YHWH, He is my judge, lawgiver and my king (see Isaiah
Sanz).

10. I, Anthony Eugene Budreau, file this suit for enforce my right to a remedy in
equity from the trespass created by the STATE OF TEXAS (an Enterprise)
known as a subcontractor for THE UNITED STATES (see 28 U.S, Code 3002
Section 15 (a)(b)).

1. I demand my YHWH-given rights codified in U.S. Constitution 7"
Amendment right to trial by jury at common law which I need enforcement of
see EXHIBIT “A” And the matter is res judicata and is entitled to the same full
faith and credit as guaranteed by the United States of America. “The judgment of a
court of record whose jurisdiction is final, is as conclusive on all the world as
the judgment of this court would be. It is as conclusive on this court as it is on
other courts. It puts an end to inquiry concerning the fact, by deciding it.” Ex
parte Watkins, 3 Pet., at 202-203. [cited by SCHNECKLOTH vy
BUSTAMONTE, 412 U.S. 218, 255 (1973)].

11.Under Article 1 Section 13 of the Texas bill of rights, I “shall have remedy by

due course of law,” Article 1 Section 27, I have the right to redress my grievance,

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and I have power to create a remedy when one has been subverted and hidden
from me as a MAXIM OF LAW.

12. I invoke the U.S. Constitution Bill of Rights 5" Amendment “Zakings Clause”,
because my property my biological YHWH-given property and liberty is/was
taken without due process, I am entitled to just compensation clearly established
since December 15, 1791.

13. Linvoke Texas Bill of rights Article | Section 28, “no power of suspending laws
in this State shall be exercised except by the Legislature.” clearly established Feb
15, 1876.

14.The enforcement of a judgment of common law court judgment is a remedy I am
executing consistent with the Uniform Enforcement of Foreign Judgments Act”
or UEFJA, see also 28 USC 1963 “permits a judgment creditor to register his or
her judgment in another state by simply filing a copy of the judgment with the
clerk of the registering court.”

15. I invoke Texas Bill of Rights Article | Section 29 “the Texas Bill of Rights, is
excepted out of the general powers of government...any laws contrary thereto,
or to the following provisions, shall be void” clearly established Feb 15, 1876.

16.1 have wrongly been labeled a (U.S. citizen, slave) and have been terrorized by
void judgments rendered by an Article 1 Courts depriving me of my children
without due process, the largest Racketeering operation on the planet.

17.My liberty interest in living my life in peace, and terrorized by the loss of my
children has tethered me to an abusive court magistrate violating her oath of
office who profits from and refuses to protect my YHWH-given rights in order
to continue the securities fraud see Federal criminal Code 18 USC 1348 sold out

the backdoor of the court house.
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18.Under treaty /nternational covenant on civil and political rights | have been
restrained in my liberty and demand relief and restitution for the 2+ years of
terrorizing and profiteering from the trafficking of my children.

19. I invoke U.S. Constitution Article VI as the /aw of the land and as treaty between
Texas and the United States.

20. I have sent notice by affidavit to magistrate Piper McCraw three times my sworn
facts have gone unrebutted the dates sent to her: March 18" 2022, RA 304 312
656 US, then again April 22, 2022 RF 304 312 775 US and July 5, RF 304 314
113 US.

21.1 have filed the same affidavit of Truth, and fact, notice of liability regarding
trespass, fee schedule, notice of claim and intent. The Dates were May 16, 2022
RF 304 312 761US then again June 6 2022 RF 304 312 599 US and again
November 7, 2022, RF 304 315 431 US

22.1 mailed my Affidavit of truth and fact, to Jennifer Jyl Farnkoff and Erik James
Farnkoff my Notice of Intent with Penalty Fee for vaccinations of my children
against my consent, sent registered mail RA 183 815 499 December 9" 2022 and
again December 30" 2022 RA 183 815 511 US and Another December 30", 2022
RA 183 815 508 US.

23.All facts to these parties has gone unrebutted, I brought my unrebutted affidavits
to the Republic of Texas common Law court, paid my filing fee with silver coin,
the clerk sent notice to all parties who had opportunity to appear and defend their
actions, yet never responded to suit.

24.The Republic of Texas men and women rendered a final judgment in my favor.
See EXHIBIT “A” I am the judgment creditor and demand all writs of execution,
and attachment, and the immediate return of my children, including a restitution

award in redemption consistent with this final Judgment from the living men and
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women of the republic of Texas clearly established by treaty with Mexico since
1835.

25. I have been denied access to my children since April/May 2022.

26. My trustees have denied my life, liberty and pursuit of happiness and
continually trespass upon me and my children, | demand immediate relief remedy
and restitution for my severe and unending injuries.

27.Due to the fraud and swindle against my and my children’s trust I demand a full
accounting, and claim all securities, funds, proceeds, interest and reversionary
interest as exclusively mine and my children’s due to the bad faith, unclean

hands, and breach of fiduciary duty of my trustees.

I desire/ demand the attached common Law court judgment be enforced
immediately and U.S. Marshalls use what ever force necessary to ensure my and
my children’s protection and return them to me and enforce the restitution award of
the republic of Texas common law court for my injuries.

All my sworn facts are true and correct to the best of my memory and all statements are made in
good faith and sworn to under penalty of perjury in common law.

m God-given rights,

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Ly ’ ( fe graph, my seal
) f

By: Anthony Eugene Budreau, Executor/Beneficiary of the

ANTHONY EUGENE BUDREAJU, trust
320 South Charles St. Lewisville, Texas Republic [75067]

state of Texas

Before me, L, Q Ll Zz Be “ya notary public, on this day personally appeared Anthony

Eugene Budreau, showed me necessary identification. | witnessed his autograph on this document

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Anthony Eugene Budreau, Original petition in Federal court to enforce a final judgment, PAUMIBIBY G
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County Clerks Cooke CO. TX

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Republic of Texas
Our One Supreme Court
Common Law Venue, Original and Exclusive Jumsdiction
A Superior court sitting with the Power of a Circuit and United States District
Court in and for Robertson County de jure, Republic of Texas, a Sovereign Nation
2 under God the Creator established in 1835 by Treaty with Mexico,
And under treaty with The United States of America and under United States bill of
2
2

rights first and seventh, ninth and tenth Amendments and Texas Bill of rights
Article | section | and section 2, 13, and section 27.

Cause number 3076703152022

Anthony Eugene Budreau, (Demandant)

V.

Elizabeth Garza d/b/a Child Support Officer (Respondent) a for profit
2 corporation Duns number 093535487

ATTORNEY GENERAL OF TEXAS CHILD SUPPORT DIVISION

2 We the people of Texas have the authority under the The United States of America
and under United States bill of rights first and fifth, seventh, ninth and tenth
Amendments and Texas Bill of rights Article 1 section 1 and section 2, 13, 19 and
section 27. And the following facts shall not be re examined by any court in the

united States of America.

Robertson County common law court of Republic of Texas, Cause number 3076703152022
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We the jurors, Texian Americans who are not 14“ Amendment slave-class U.S.
citizens ruled on the following FACTS and find the following facts to be true and
correct and are entitled to a judgment as a matter of law, as a MAXIM OF LAW.

JURISDICTION: We find the STATE OF TEXAS has No Jurisdiction over the
Republic of Texas (the real de jure government). The facts of “Lack of jurisdiction
over the Republic of Texas final judgments” had been previously ruled by TEXAS
SUPREME COURT in Cause number 95-1001 and 95-1002. (1995) which is

consistent with the United States Constitution 7° Amendment.

1. FACT: Anthony Eugene Budreau, (Demandant) is a living man, a Texian
American, who lives on the soil in the great Nation of the Republic Texas;
he explicitly claims all unalienable natural birth rights eternally, thereby has.
status of Diplomat with diplomatic immunity.

2. FACT: Anthony Eugene Budreau, paid his filing fee for this Common law
Court with four Republic of Texas minted, 1 Troy ounce .999 silver coin(s).

3. FACT: Anthony Eugene Budreau, has served the Respondent Elizabeth
Garza d/b/a CHILD SUPPORT Officer by registered mail 4 times, and all
facts have gone unrebutted.

4. FACT: Martinez Process Service LLC On March 11, 2022 at 2:45 pm central
standard time, at 400 South Zang Blvd, Suite 1100, Dallas Texas 75208
attempted to serve notice of hearing to Elizabeth Garza through a supervisor
Karen Young (senior regional attorney) who willfully and intentionally
denied service process to attend this court hearing, thus we find that Karen
Young obstructed justices, and is subject to criminal referral.

5. FACT: Respondent Elizabeth Garza, child support officer, works for the
ATTORNEY GENERAL Duns # XXXXX5487, of the JUDICIARY

Robertson County common law court of Republic of Texas, Cause number 3076703152022
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COURTS OF THE STATE OF TEXAS Duns # XXXXX5683 (both are for-
profit corporations).

6. FACT: Anthony Eugene Budreau, put the Respondent Elizabeth Garza on
notice that he explicitly claims all his unalienable natural birth rights
eternally, thereby he had status of Diplomat with diplomatic immunity.

7. FACT: Anthony Eugene Budreau has suffered from coercive slavery, without
his consent. USC 13 Amendment forbids coercive slavery, and Federal
Criminal Code forbids Coercive slavery 18 USC 1583, 84, 85. Anthony
Eugene Budreau is under duress to pay a debt he does NOT owe, the debt,
interest and fees is created by the STATE OF TEXAS under the guise of child
support and is a fraudulent claim filed in commerce.

8. FACT: Anthony Eugene Budreau has been threatened with jail confinement
for a debt by the STATE OF TEXAS, and the Judiciary Courts of the state of
Texas including 469" COLLIN COUNTY COURT at 2100 Bloomdale Road,
McKinney Texas.

9. FACT: We find the Texas Bill of Rights Article 1 Section 18 prohibits debtors’
prison of the Texas men and women. “NO person shall ever be imprisoned
for debt.” We find the STATE OF TEXAS and the 469" COLLIN COURT are
acting contrary to the Texas Constitution thus act without jurisdiction or
authority.

10.FACT: Anthony Eugene Budreau, has been deprived of visitations with his
offspring multiple times by his former wife.

11. FACT: Anthony Eugene Budreau, does support his children with love, care,
housing, clothing and food while in his care.

12. FACT: Anthony Eugene Budreau, is entitled to relief, remedy, and restitution
under Texas Bill of Rights Article 1 Section 13, and 27 from the fraudulent

Robertson County common law court of Republic of Texas, Cause number 3076703152022
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attempt of coercive debt slavery.

13. FACT: We the men, and women jurors (the judge of the facts, See Article |
Section 8 of Texas Bill of Rights) find Anthony Eugene Budreau is entitled to
emergency injunctive relief from coercive debt slavery.

14. FACT: We the men and women jurors find that Anthony Eugene Budreau is
entitled to economic restitution as a crime victim for the fraud perpetuated
upon him in the form of coercive slavery, mail fraud, mail threats, emotional
distress, mental anguish, defamation of character unauthorized
communication, legal research, miscellaneous costs to pursue remedy is
entitled to $798,006.75 This judgment is rendered in favor of Anthony
Eugene Budreau, and rendered against the STATE OF TEXAS, ELIZABETH
GARZA, SHARON FORBES, The 469 DISTRICT CLERK OF COLLIN
COUNTY, LYNNE FINLEY and DEPUTY TAYLER ELLIFF.

15. ENFORCEMENT: We the men and women of the Republic of Texas render
a final judgement rendering justice and honor and right-doing, and application
to facts which must be protected and enforced in all courts and by all civil

servants who hold a Texas and United States Constitution oath of office.

Robertson County common law court of Republic of Texas, Cause number 3076703152022
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So agreed all these facts are true and correct and entitled to relief, restitution and remedy at
common law (5 tt day of_ “W/ ahehe ( 202Y/ :
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By Robertson County, Republic of Texas common law court clerk_ 27 Poa A
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Robertson County common law court of Republic of Texas, Cause number 3076703152022
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